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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 12-20700-CR-LENARD


 UNITED STATES OF AMERICA,

        Plaintiff,

 vs.

 MANUEL LOZANO,

       Defendant.
 ____________________________/


  ORDER GRANTING MOTION FOR REDUCTION OF SENTENCE AND AMENDING
               ORDER OF JUDGMENT AND COMMITMENT

        THIS MATTER having come before the Court upon the Government's Motion to Reduce
 Sentence imposed as to Defendant Manuel Lozano pursuant to Rule 35, Federal Rules of
 Criminal Procedure, as amended.       The Court having reviewed said motion and the reasons
 advanced therein and the Court being fully advised as to the facts and circumstances of this case;
 the Court Finds that the defendant has provided substantial assistance in the investigation or
 prosecution of criminal conduct pursuant to Rule 35. Therefore it is
        ORDERED AND ADJUDGED that the Government's Motion to Reduce the Sentence is
 Granted. It being further,
        ORDERED that the original Order of Judgment, entered on May 8, 2013 is hereby

 AMENDED as follows: The defendant's term of imprisonment is reduced to twenty-six (26)

 months. It is

         FURTHER ORDERED AND ADJUDGED that all other provisions of the original
 Judgment and Commitment Order, entered on May 8, 2013 shall remain in full force and effect.
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       DONE AND ORDERED in Miami, Florida this 11th day of February, 2014.



                                                  ________________________________
                                                   JOAN A. LENARD
                                                  UNITED STATES DISTRICT JUDGE




 cc:   Counsel of Record
       U.S. Probation Office
       U.S. Marshals Service
